                           IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

TEQUILA JOHNSON,                                          *
                                                          *
           Plaintiff,                                     *
                                                          *
v.                                                        *      No.
                                                          *
CORPORATION SERVICE COMPANY                               *      JURY DEMANDED
d/b/a FAMILY DOLLAR,                                      *
                                                          *
           Defendant.                                     *

                                       NOTICE OF REMOVAL

           Without submitting to the jurisdiction of this Court and without waiving any available

defenses, including, without limitation, lack of jurisdiction, improper venue, statute of limitations,

insufficient process, insufficient service of process, and failure to state a claim upon which relief

can be granted, Defendant Corporation Service Company d/b/a Family Dollar (hereinafter “Family

Dollar”), by and through counsel and pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, hereby files

this Notice of Removal of the above-described action to the United States District Court for the

Eastern District of Tennessee at Knoxville from the Circuit Court for Knox County, Tennessee,

where the action is now pending, and states as follows:

           1.      The Plaintiff commenced this cause of action in the Circuit Court for Knox County,

Tennessee on September 10, 2021. Family Dollar received notice of this lawsuit on September 16,

2021. Therefore, this removal is timely.

           2.      This is a civil action for damages arising out of alleged injuries sustained in a fall

on or about September 15, 2020. (Compl. ¶ 4). The United States District Court for the Eastern

District of Tennessee at Knoxville has jurisdiction by reason of diversity of citizenship of the

parties.




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        3.      This suit is between citizens of different states. At all times relevant to this lawsuit,

the Plaintiff was a resident and citizen of Tennessee. (Compl. ¶ 1).

        4.      Family Dollar is a Virginia corporation with its principal place of business in

Virginia. Family Dollar is not a citizen of Tennessee.

        5.      The matter in dispute exceeds $75,000, exclusive of interest and costs, based on a

fair reading of the Plaintiff’s Complaint. The “Plaintiff respectfully prays judgment against the

Defendant for compensatory damages in the sum of $375,000.00 . . ..” (Compl.). Thus, the

jurisdictional amount is satisfied in this case.

        6.      Family Dollar attached copies of the Summons and Complaint as Exhibit 1.

        7.      Family Dollar will give written notice of the filing of this Notice as required by 28

U.S.C. § 1446(d).

        8.      A copy of this Notice will be filed with the Clerk of the Circuit Court for Knox

County, Tennessee as required by 28 U.S.C. § 1446(d).

        WHEREFORE, Family Dollar requests this action proceed in this Court as an action

properly removed to it.

        Dated this 15th day of October, 2021.

                                                   Respectfully submitted,

                                                   CARR ALLISON

                                                   BY:    /s/ Chancey R. Miller
                                                          SEAN W. MARTIN, BPR #020870
                                                          CHANCEY R. MILLER, BPR #036124
                                                          Attorneys for Defendant
                                                          736 Market Street, Suite 1320
                                                          Chattanooga, TN 37402
                                                          (423) 648-9832 / (423) 648-9869 FAX
                                                          swmartin@carrallison.com
                                                          cmiller@carrallison.com



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                               CERTIFICATE OF SERVICE
I hereby certify that on October 15, 2021, I electronically filed this NOTICE OF REMOVAL
with the Clerk of Court using the CM/ECF system which will automatically send email notification
of such filing to the following attorneys of record:
       Timothy J. Crosby
       Wettermark & Keith, LLC
       345 Frazier Avenue, Suite 204
       Chattanooga, TN 37405
       tcrosby@wkfirm.com

                                            CARR ALLISON

                                            BY:    /s/ Chancey R. Miller
                                                   SEAN W. MARTIN, BPR #020870
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                                                   Attorneys for Defendant
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